      Case 1:24-cv-02768-PLF    Document 27   Filed 11/04/24   Page 1 of 9




                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA


SCPS, LLC and SSPS, LLC,

                  Plaintiffs,

vs.                                      Civil Action No. 1:24-cv-02768-PLF

KIND LAW, BEN TRAVIS LAW, and
INDIVIDUALS IDENTIFIED ON
ATTACHMENT A,

                  Defendants.




   PLAINTIFFS’ SUPPLEMENTAL SUBMISSION IN FURTHER
OPPOSITION TO KIND LAW AND BEN TRAVIS LAW’S MOTION TO
  DISMISS, PURSUANT TO THE COURT’S ORDER ENTERED ON
                    NOVEMBER 1, 2024



                                         IFRAH PLLC
                                         1717 Pennsylvania Avenue NW
                                         Suite 650
                                         Washington, DC 20006
                                         (202) 524-4157

                                         LOWENSTEIN SANDLER LLP
                                         1251 Avenue of the Americas
                                         New York, NY 10020
                                         (212) 262-6700

                                         Attorneys for Plaintiffs
       Case 1:24-cv-02768-PLF          Document 27       Filed 11/04/24     Page 2 of 9




       Pursuant to the Court’s Order entered on November 1, 2024 (ECF No. 22),

Plaintiffs1 respectfully submit this supplemental memorandum of law to further

explain why the Court has personal jurisdiction over the Firms pursuant to the

“closely related” doctrine.

       The Complaint seeks to enjoin the Firms from prosecuting arbitration claims

without authorization from their supposed clients. The Firms’ conduct involves their

actions in prosecuting, and seeking to benefit from, the Claimants’ rights under the

Terms & Conditions without the consent of, or authorization from, many of their

purported clients, in order to confront Plaintiffs with massive administrative fees and

thereby coerce settlement. (See Pls.’ MTD Opp. Br. at 9-14, 20-21, 33-34.) Each

of the Claimants consented to the jurisdiction of this Court because the Terms &

Conditions’ arbitration provision they invoked selects Washington D.C. as the

forum.2 No Claimant has appeared to contest jurisdiction. The Firms, however,

contend that they—unlike their purported clients—are not subject to this Court’s

jurisdiction. The Firms’ conduct—which is undisputed—is more than enough to

subject the Firms to the jurisdiction of this Court under the “closely related” doctrine.

      The “Closely Related” Doctrine Focuses on the Conduct of the Party
                to be Bound by the Forum-Selection Provision.

1
 Capitalized terms used but not defined herein shall have the same meaning ascribed to them in
Plaintiffs’ Opposition to the Firms’ Motion to Dismiss (“Pls.’ MTD Opp. Br.”) (ECF No. 21).
2
  At present, 41 Claimants have returned waivers of service. None have served any opposition to
Plaintiffs’ motion seeking a preliminary injunction or challenged the jurisdiction of this Court.
       Case 1:24-cv-02768-PLF      Document 27     Filed 11/04/24    Page 3 of 9




      The “closely related” doctrine operates to hold non-signatories to a forum-

selection clause in a contract between other parties. “Although the D.C. Circuit has

yet to confront the question, a number of decisions from this Court have held that

non-parties and non-signatories to an agreement may be bound by that agreement’s

forum-selection clause if their conduct is closely related to the contractual

relationship so that it is foreseeable that they would be bound by such clause.” M3

USA Corp. v. Qamoum, No. CV 20-2903 (RDM), 2021 WL 2324753, at *10 (D.D.C.

June 7, 2021) (cleaned up, citing authority); see also Sabre Int’l Sec. v. Torres

Advanced Enter. Sols., LLC, 60 F. Supp. 3d 21, 33 (D.D.C. 2014) (“the Second,

Seventh, Ninth, and Eleventh Circuits have all agreed that, where the alleged

conduct of the nonparties is closely related to the contractual relationship, a range of

transaction participants, parties and non-parties, should benefit from and be subject

to forum selection clauses.” (cleaned up, citing authority)). “These courts have

reasoned that were it not for judicial willingness in appropriate circumstances to

enforce forum selection clauses against non-parties, such clauses often could easily

be evaded.” Sabre Int’l, 60 F. Supp. 3d at 33 (cleaned up).

      Given that the doctrine’s aim is to promote fairness and justice, “courts

considering the question of whether a non-signatory may be bound by a forum-

selection clause take a common sense approach based on the totality of the

circumstances and ask whether, in light of those circumstances, it is fair and

                                          -2-
       Case 1:24-cv-02768-PLF      Document 27     Filed 11/04/24   Page 4 of 9




reasonable to bind a non-party to the forum-selection clause.” M3 USA, 2021 WL

2324753, at *11 (cleaned up). In making this determination, courts focus on the

relationship between non-party and signatory, the non-parties’ conduct, and the

foreseeability of a court enforcing the forum-selection clause against the non-party.

Id. Foreseeability is determined “either at the time the contractual forum-selection

clause was executed or at the time the non-signatory became involved in the

dispute.” Id. at *12 (emphasis added).

      The “closely related” doctrine applies when a party asserts claims as a

representative of others who are bound by the forum-selection provision.            In

Net2Phone, Inc. v. Superior Court, 109 Cal. App. 4th 583 (2003), Consumer Cause,

Inc. brought suit in a representative capacity on behalf of cellular telephone users as

a “private Attorney General” under California law. The defendant sought to enforce

the forum-selection clause accepted by the users that required litigation New Jersey.

Id. at 586-87. Consumer Cause, in turn, resisted on grounds that it never agreed to

be bound by those Terms. Id. The Court enforced the forum-selection clause against

Consumer Cause because it sought to benefit from the contract:

             Although Consumer Cause is not itself a party to the
             contract, it has sued in a representative capacity
             challenging certain contractual terms. By so doing,
             Consumer Cause purports to assert the rights of those who
             are parties to the contract. If it prevails, Consumer Cause
             will succeed in altering the terms of the contract, and reap
             the fruits of victory including attorney’s fees. Consumer
             Cause is “closely related” to the contractual relationship

                                          -3-
       Case 1:24-cv-02768-PLF        Document 27   Filed 11/04/24   Page 5 of 9




             because it stands in the shoes of those whom it purports to
             represent. Its argument to the contrary is inconsistent with
             its position as a representative plaintiff. Were we to hold
             otherwise, a plaintiff could avoid a valid forum selection
             clause simply by having a representative non-party file the
             action.

Id. at 589 (emphasis in original).

      Examples from this District show that the “closely related” doctrine applies

in situations far more removed than the present facts. For example, this Court has

applied the doctrine where certain owners and creators of content sued YouTube for

removing their video from that online platform, even when three of the plaintiffs had

not posted the video and had not accepted the YouTube Terms of Service containing

the forum-selection clause. Song fi, Inc. v. Google, 72 F. Supp. 3d 53, 57-58, 60-61

(D.D.C. 2014) (enforcing the Terms of Service forum-selection provision because

“all of the injuries complained of in this case stem from,” and “relate to conduct

based on[,] YouTube’s Terms of Service”). Likewise, another court applied the

doctrine against a photographer who sued McGraw-Hill for unauthorized use of his

photographs, when McGraw-Hill allegedly exploited the photographs in breach of a

licensing agreement with a third party containing the forum-selection provision.

Lefkowitz v. McGraw-Hill Companies, Inc., No. CIV. A. 13-1661, 2013 WL

3061549, at *1, 3-4 (E.D. Pa. June 19, 2013) (while the photographer had “no direct

contractual relationship” with McGraw-Hill, the Court enforced the forum-selection

clause because “it would be unfair not to apply it to him.”).

                                          -4-
       Case 1:24-cv-02768-PLF      Document 27    Filed 11/04/24   Page 6 of 9




      As this authority makes clear, where a party seeks to benefit from a contract

between the defendant and others that contains a forum-selection clause, it is

eminently foreseeable, and just, to hold that party to the chosen forum. If the party

dislikes the chosen forum, then it need not seek to benefit from the contract. Cf. In

re Lloyd’s Reg. N. Am., Inc., 780 F.3d 283, 291–92 (5th Cir. 2015) (under estoppel

principles, nonparties are bound by forum-selection clauses in arbitration

agreements when they “knowingly exploit[ed]” the contract for their own direct

benefit).

               The Firms’ Scheme to Exploit the Terms & Conditions’
            Arbitration Provision Satisfies the “Closely Related” Doctrine.

      There is ample basis to conclude that the Firms are subject to jurisdiction and

venue in this Court because their conduct is “closely related” to the Terms &

Conditions and the AAA arbitrations commenced under them. The Firms’ conduct

challenged in the Complaint arises from their prosecution of claims under the Terms

& Conditions’ arbitration provision without client authorization. (Compl. ¶¶ 61-69,

75.) The Firms purport to be the agents of the Claimants and such agency, alone,

makes the doctrine an “easy” case. M3 USA, 2021 WL 2324753, at *12. As in

Net2Phone, the Firms seek to benefit from the Terms & Conditions through

contingent fees and an attorney’s fee award on the RICO claims. 109 Cal. App. 4th

at 589. Moreover, the Firms would have understood that Washington D.C. was the

chosen forum when they chose to prosecute claims against Zula and Sportzino under

                                          -5-
       Case 1:24-cv-02768-PLF      Document 27      Filed 11/04/24   Page 7 of 9




the Terms & Conditions, and they ought to have foreseen that any challenge to their

activities would be filed here.

      The Complaint alleges that the Firms did far more than simply commence

arbitrations on behalf of their clients. The Firms stepped beyond the ordinary role

of arbitral counsel by taking a series of extraordinary actions aimed at stirring up the

largest controversy possible—including a social media advertising campaign

attacking over 90 social gaming websites to recruit thousands of purported clients

(Compl. ¶¶ 25-27); commencing nearly 200 arbitrations on behalf of individuals

who are strangers to Zula and Sportzino, and have no good-faith basis to assert any

claims (id. ¶ 55); and filing other baseless arbitrations without securing authorization

from the “clients” they purport to represent, all so that they can profit from the

arbitration provision in the Terms & Conditions. (See, e.g., Barrowclough Decl.,

Ex. F (“I dont have any idea about this Lawsuit. I didnt file any lawsuit”); Compl.

⁋⁋ 62-66 (“I am writing this message to clarify that I am NOT represented by any

law firms such as Kind Law & Ben Travis”) (“No. I have not done so I have no

lawyer or lawsuits against anyone if there is [it is] not with my consent.”).) It is for

that conduct that Plaintiffs named the Firms themselves as defendants in the

Complaint and for which Plaintiffs seek injunctive relief against the Firms. That

relief, however, is all tied to the Terms and Conditions as to which the Firms had

notice of and upon which they necessarily rely for the arbitration claims.



                                          -6-
       Case 1:24-cv-02768-PLF          Document 27       Filed 11/04/24      Page 8 of 9




       Even if the Firms had disputed these facts, “factual discrepancies appearing

in the record must be resolved in favor of the plaintiff” on the Firms’ motion to

dismiss for lack of personal jurisdiction. Crane v. N.Y. Zoological Soc., 894 F.2d

454, 456 (D.C. Cir. 1990). Given their alleged conduct, the Firms are using the

Terms & Conditions as a vehicle for funneling benefits directly to the Firms. Under

those circumstances, it would be unfair if the Firms were able to evade the forum-

selection clause and it is a clearly foreseeable result that any action to enjoin the

Firms’ conduct would be brought in this Court.3

                                             IFRAH PLLC
                                             1717 Pennsylvania Avenue NW
                                             Suite 650
                                             Washington, DC 20006
                                             (202) 524-4157
                                             Attorneys for Plaintiffs


Dated: November 4, 2024                      By: /s/ George Calhoun

Of Counsel:

LOWENSTEIN SANDLER LLP
1251 Avenue of the Americas
New York, NY 10020
(212) 262-6700


3
  Despite the wide acceptance and long history of the closely related doctrine, the Court in M3
USA expressed concern about expanding the doctrine to passive and unsuspecting nonparties who
did not impliedly or expressly consent to jurisdiction. 2021 WL 2324753, at *12. The M3 USA
Court’s concerns do not apply here. The Firms are sophisticated counsel who knowingly invoked
the Terms & Conditions’ arbitration clause for their own benefit and thus assented to their terms.
Under any reasonable construct, the Firms’ conduct constitutes implied consent to be bound by
the forum-section clause and thus the personal jurisdiction of this Court.


                                               -7-
      Case 1:24-cv-02768-PLF     Document 27     Filed 11/04/24   Page 9 of 9




                         CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that I caused a true and correct copy of the
foregoing Plaintiffs’ Supplemental Submission in Further Opposition to Kind
Law and Ben Travis Law’s Motion to Dismiss, pursuant to the Court’s Order
entered on November 1, 2024, to be electronically filed with the Clerk of the
Court using CM/ECF. I also certify that the foregoing document is being served
this day on all counsel of record either via transmission of Notices of Electronic
Filing generated by CM/ECF or in another authorized manner for those counsel or
parties authorized to receive electronically Notices of Electronic Filing. In
addition, the undersigned counsel notified each of the individuals, each of whom
Kind Law and Ben Travis Law purport to represent, by service on the law firms.


                             By: /s/ George Calhoun
                                   George Calhoun




                                        -8-
